           Case 1:15-cv-06145-JMF Document 40 Filed 03/15/16 Page 1 of 3




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :                     03/15/2016
HENRY IKEZI,                                                           :
                                                                       :
                                    Plaintiff,                         :     15-CV-6145 (JMF)
                                                                       :
                  -v-                                                  :   ORDER OF DISMISSAL
                                                                       :
CIPRIANI CLUB 55 LLC, et al.,                                          :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- :
                                                                       X

JESSE M. FURMAN, United States District Judge:

        On February 26, 2016, Defendants informed the Court by letter motion that Plaintiff and

Plaintiff’s counsel had failed to produce required discovery and repeatedly failed to respond to

communications from Defendants. (Docket No. 36). By Order entered February 29, 2016, the

Court scheduled a discovery conference to take place on March 2, 2016, to address the issues

raised in that letter. (Docket No. 37). Plaintiff was also ordered to respond to Defendants’ letter

by March 1, 2016, at noon. (Id.). Plaintiff failed to submit the required letter and then failed to

appear at the scheduled discovery conference. In light of those failures, as well as the failures

detailed in Defendants’ February 26 letter, the Court ordered Plaintiff to show cause in writing

by March 11, 2016, why he should not be sanctioned, up to and including dismissal of the case

on grounds of abandonment and failure to prosecute. See Fed. R. Civ. P. 41. Plaintiff submitted

nothing — and took no action — in response to that Order. On March 14, 2016, Defendants

filed a letter motion asking the court to dismiss this action based on Plaintiff’s failure to respond

to the Order and for abandonment or failure to prosecute. (Docket No. 39).




                                                         1
          Case 1:15-cv-06145-JMF Document 40 Filed 03/15/16 Page 2 of 3




       The Supreme Court and the Second Circuit have long recognized that federal courts are

vested with the authority to dismiss a plaintiff’s action with or without prejudice because of a

failure to prosecute, a power that is “necessary in order to prevent undue delays in the disposition

of pending cases and to avoid congestion in the calendars of the District Courts.” Link v.

Wabash R.R., 370 U.S. 626, 629-30 (1962); see, e.g., United States ex rel. Drake v. Norden Sys.,

Inc., 375 F.3d 248, 250 (2d Cir. 2004); see also, e.g., In re World Trade Ctr. Disaster Site Litig.,

722 F.3d 483, 487 (2d Cir. 2013) (noting that district courts’ “responsibility to manage their

dockets so as to achieve the orderly and expeditious disposition of cases . . . is particularly acute

where the litigation is complex and continuing”). Because dismissal is “one of the harshest

sanctions at a trial court’s disposal,” however, it must be “reserved for use only in the most

extreme circumstances.” Drake, 375 F.3d at 251. In considering a Rule 41(b) dismissal, a court

must weigh five factors: “(1) the duration of the plaintiff’s failure to comply with the court order,

(2) whether plaintiff was on notice that failure to comply would result in dismissal, (3) whether

the defendants are likely to be prejudiced by further delay in the proceedings, (4) a balancing of

the court’s interest in managing its docket with the plaintiff’s interest in receiving a fair chance

to be heard, and (5) whether the judge has adequately considered a sanction less drastic than

dismissal.” Lucas v. Miles, 84 F.3d 532, 535 (2d Cir. 1996).

       Upon due consideration of the foregoing factors, the Court finds that dismissal without

prejudice is the appropriate sanction for Plaintiff’s continued failure to abide by Court orders and

to prosecute this case. Plaintiff has given no indication that he still intends to pursue his claims

despite being repeatedly reminded of his (minimal) obligations by both the Court and Defendants

and despite an explicit warning that failure to do so could result in dismissal. (See Docket Nos.

36, 37, 38). The efforts to encourage compliance with those obligations having proven fruitless,




                                                  2
          Case 1:15-cv-06145-JMF Document 40 Filed 03/15/16 Page 3 of 3




the Court has no “means to move this case forward efficiently without the cudgel of extreme

sanctions.” Baptiste v. Sommers, 768 F.3d 212, 219 (2d Cir. 2014).

       In light of the foregoing, this case is hereby DISMISSED without prejudice. See In re

World Trade Ctr. Disaster Site Litig., 722 F.3d at 487 (holding “that the court did not exceed the

bounds of its discretion in dismissing the noncompliant plaintiffs’ complaints”). Should Plaintiff

comply with the Court’s orders and otherwise make a good faith effort to prosecute his case

within thirty days, he may move to vacate the dismissal. In any such motion, however, he should

also show cause why, if the case is reopened, he should not be ordered to reimburse Defendants

for the costs involved in addressing his failures in this case.

       The Clerk of Court is directed to close this case and to terminate Docket No. 39. All

conferences are vacated.

       SO ORDERED.

Dated: March 15, 2016
       New York, New York




                                                   3
